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                      IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW JERSEY



   EAST   BRUNSWICK    TOWNSHIP
   BOARD OF EDUCATION,                                      Civil Action

                   Plaintiff,                                      Docket No.:
   v.

   D.S. and M.S. o/b/o A.S.,                                      COMPLAINT

                   Defendants.


         Plaintiff, East Brunswick Township Board of Education, by way of Complaint

  against Defendants, alleges as follows:

                                            I. PARTIES

         1.      Plaintiff is East Brunswick Board of Education (“District” or “Plaintiff”),

  having offices at 760 Route 18, Suite 108, East Brunswick, New Jersey

         2.      Defendants are D.S. and M.S., appearing in their individual capacity, and

  on behalf of their minor child, A.S. (collectively referred to as “Parents” or

  “Defendants”).

         3.      A.S. is a student enrolled within the District, which is located in East

  Brunswick Township, New Jersey.

         4.      At all times relevant to the due process matter described herein, Parents

  and A.S. resided within the boundaries of the District.
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                                II. JURISDICTION AND VENUE

          1.       This Court has federal question jurisdiction under 28 U.S.C §1331, and a

  specific grant of jurisdiction under § 615(a) of the Individuals with Disabilities Education

  Act (the “IDEA”), 20 U.S.C. §1415(i)(2).

          2.       Venue properly lies in the District Court for the District of New Jersey

  under 28 U.S.C. §1391, as the parties reside within, and the causes of action arose within

  this District.

          3.       The claims comprising this Complaint have been fully exhausted at the

  state administrative level through a final judgment in a state due process proceeding

  before the New Jersey Office of Administrative Law, entitled D.S. and M.S. o/b/o A.S., v,

  East Brunswick Township Board of Education, OAL Docket No.: EDS 10246-2019,

  Agency Ref. No.: 2020-30287. The Administrative Law Judge presiding in that case, the

  Honorable Sarah G. Crowley (the “ALJ”), issued a Decision and Order, dated

  January 5, 2021 (the “Decision”), a copy of which is attached to this Complaint as

  Exhibit “A.”

                               III.   STATEMENT OF FACTS

                               A.     Brief Factual Background:

          1.       A.S. (born October 24, 2002) resides in East Brunswick, New Jersey with

  her Parents, her parents, M.S. and D.S.

          2.       Plaintiff East Brunswick Township Board of Education is the local

  education agency charged with providing A.S. with a free appropriate public education.

          3.       A.S. was initially found eligible for special education and related services

  as a pre-school child with a disability in October 2005.




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          4.     Upon exiting preschool, A.S. remained eligible for special education under

  the classification of “Communication Impaired.”

          5.     In 2009, as a result of a re-evaluation eligibility meeting, A.S.’s

  educational classification was changed to Other Health Impaired due to diagnoses of a

  Pervasive Developmental Disorder- Not Otherwise Specified and Attention Deficit

  Disorder.

          6.     In 2011, A.S.’s classification was changed back to Communication

  Impaired.

          7.     In the 2015-2016 school year, A.S. attended seventh (7th) grade as a

  special education student at Hammarskjold Middle School in Respondent’s school

  district.

          8.     On January 22, 2016, the District’s CST conducted an Annual Review IEP

  Meeting.      Defendant M.S. participated in the IEP meeting and agreed to the

  implementation of the IEP on January 27, 2016.

          9.     In the 2016-2017 and 2017-2018 school years, A.S. attended eighth (8th)

  and ninth (9th) grade at Churchill Junior High School in Respondent’s school district.

          10.    On October 24, 2016, the District held an annual review IEP meeting, in

  which Defendant M.S. attended. Defendant M.S. participated in the IEP meeting, and at

  the conclusion of the meeting agreed to the implementation of the IEP.

          11.    On December 14, 2016, the District’s CST held an Annual Review IEP

  meeting, in which Defendant M.S. participated via phone. Defendant consented to the

  implementation of the IEP developed on December 14, 2016.




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         12.     On June 7, 2017, the District held an annual IEP meeting, in which

  Defendant attended.     At that meeting, the District also held an evaluation planning

  meeting. At the meeting, Defendant M.S. rejected the CST proposed educational and

  psychological evaluation.

         13.     Defendant consented to the IEP developed on June 7, 2017. The purpose

  of the issuance of the June 17, 2017 IEP was to change A.S.’s placement in pull-out

  History to the in-class resource setting at Defendant’s request.

         14.     On August 18, 2017, Defendant M.S. consented to the IEP Amendment

  Agreement without a meeting.

         15.     On     September 8, 2017,     Defendant     M.S.    consented   to   the

  September 6, 2017 IEP Amendment Agreement without a meeting.

         16.     On September 15, 2017, Defendant M.S. consented to amend the

  September 18, 2017 IEP without a meeting.

         17.     On March 16, 2018, Defendants M.S. and A.S. attended an Annual

  Review IEP meeting conducted by the District Child Study Team. Defendant M.S.

  requested that for tenth (10th) grade, A.S. be placed in the general education setting

  with in-class support for all classes. Defendant consented to the IEP developed on

  March 16, 2018.

         18.     On June 12, 2018, Defendants consented to the IEP Amendment without a

  meeting.

         19.     In the 2018-2019 school year, A.S. attended East Brunswick High School

  as a tenth (10th) grade student.




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         20.     On October 8, 2018, the District held a reevaluation planning meeting. It

  was agreed upon that additional assessments were warranted. Defendant M.S. consented

  to the District conducting an educational, psychological, and speech/language evaluation.

         21.     On December 6, 2018, the Child Study Team conducted a Reevaluation

  Eligibility Determination Meeting with an IEP Annual Review. Defendants M.S. and

  D.S. participated in the meetings. Placement in the resource center setting for A.S.’s

  core academic classes were considered and rejected by Defendants at the meeting, as

  they felt placement in the resource center was socially stigmatizing.          Defendants

  consented to the implementation of the IEP developed on December 6, 2018.

         22.     On June 26, 2019, Defendants D.S. and M.S. filed for due process.

         23.     On July 15, 2019, Defendants D.S. and M.S. notified the District in

  writing through a ten-day unilateral placement notice that they intended to place A.S. at

  the Lewis School starting for the 2019-2020 school year.

         24.     Defendants signed an enrollment agreement for the Lewis School on

  August 6, 2019, and A.S. attended the Lewis School for the 2019-2020 school year (11th

  grade) and is currently enrolled for the 2020-2021 school year (12th grade).

         25.     On July 15, 2019, Defendants, through counsel, requested independent

  educational, psychological, and educational assessments of A.S.

         26.     On December 11, 2019, Dr. Jane M. Healey, Ph.D. conducted an

  independent psychoeducational and neuropsychological evaluation of A.S.

         27.     On February 26, 2020, Jaime Lehrhoff, M.A. LDT-C conducted an

  independent educational evaluation of A.S.




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                                 B.      Procedural History:

         4.      On or about June 26, 2019 D.S. and M.S. o/b/o A.S. filed a Parental

  Request for Due Process Hearing (“Due Process Petition”) with the Office of Special

  Education Policy and Procedure (“OSEP”) seeking, inter alia:

         (i)     a Court order requiring the District to place A.S. in an out-of-district
                 placement with the Lewis School until such time as the end of the school
                 year in which she turns age 21 and for the District to pay for said
                 placement;

         (ii)    District provision and payment of transportation to and from the out-of-
                 district program;

         (iii)   A finding that the District has denied A.S. a FAPE in the LRE and a
                 declaration of Parents as the prevailing party;

         (iv)    A finding that Parents’ 10-day unilateral placement notice was proper and
                 that the unilateral placement as the Lewis School was appropriate and
                 provides FAPE for A.S. in the LRE and that the district is liable to
                 reimburse Parents with full tuition, all other related fees and costs, and
                 transportation fees and costs as a result of having to unilaterally place A.S.
                 at the Lewis School;

         (v)     Compensatory education, compensatory damages, and punitive damages
                 for the violation of the IDEA, Section 504, Child Find, Section 1983 and
                 the 14th Amendment Due Process, the law Against Discrimination, New
                 Jersey Civil Rights Act, and the Americans with Disabilities Act;

         (vi)    Reimbursement for any and all past and future out-of-pocket expenses,
                 including evaluations, counselling, all costs, attorney’s fees, and any other
                 fees, as well as any and all expert fees, costs, and litigation costs, and fees
                 and costs associated with this action;

         (vii)   Compensatory damages;

         (viii) Attorney’s fees and costs.

         5.      On July 30, 2019, the matter was transmitted to the Office of

  Administrative Law of New Jersey (“OAL”)




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         6.     On August 15, 2019, a settlement conference at the OAL was conducted

  before the Honorable Dean Buono, ALJ. The matter was not resolved at the settlement

  conference.

         7.     On August 16, 2019, the parties participated in a telephone status

  conference before the Honorable Sarah G. Crowley, ALJ.

         8.     On October 29, 2019, the parties participated in a telephone status

  conference before Judge Crowley.

         9.     On February 3, 2020, the parties participated in a telephone status

  conference before Judge Crowley.

         10.    On February 21, 2020 Parents’ counsel requested an adjournment of the

  scheduled June 1, 3, and 5, 2020 hearing dates.

         11.    On February 24, 2020, the parties participated in a telephone status

  conference before Judge Crowley in which the hearing dates were rescheduled to June 8,

  12, 15, and 19, 2020.

         12.    On June 1, 2020, the parties participated in a telephone status conference

  before Judge Crowley. At that time, the June hearing dates were adjourned due to

  COVID-19. District Counsel voiced the Board’s objections to proceed by way of a

  remote hearing as opposed to an in-person hearing. Hearing dates were scheduled for

  August 10, 12, and 14, 2020.

         13.    On July 31, 2020, the District sent a letter to the Court requesting an

  adjournment of the scheduled August hearing dates. Specifically, the District opposed

  conducting the proceedings via a Zoom remote hearing. The District also requested an




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  adjournment because an IEP meeting had been scheduled for August 5, 2020, which had

  the potential for good-faith discussion in respect to resolving the matter.

         14.     On August 3, 2020 the District sent a follow-up letter to the Court seeking

  an adjournment of the scheduled August hearing dates.

         15.     On August 3, 2020, Parents objected to the adjournment request.

         16.     On August 3, 2020, the Court denied the District’s adjournment request.

         17.     A plenary hearing was held before this Court on August 10, August 12,

  and August 14, 2020.

         18.     On the Monday August 10, 2020 hearing date, Parents’ counsel objected

  to the Board’s presentation of Ms. Jennifer Garcia, CCC-SLP, the Board’s certified

  Speech and Language Pathologist, and Rosalia Minervini, Supervisor of Special Services

  in Secondary Programs for Grades 6-12.

         19.     During the due process hearing on Monday, August 10, 2020, the Court

  sustained Parents Counsel’s objection and Ms. Garcia was prohibited from testifying.

         20.     On the second day of hearing, Wednesday, August 12, 2020, the Court

  allowed Ms. Minervini to testify over Parents Counsel’s objection.            Following Ms.

  Minervini’s testimony, oral argument again ensued over the proffer of the District’s

  witnesses. The Court stated what, if any weight, would be given to Ms. Minervini’s

  testimony and asked the Parties to submit their positions on the issue.

         21.     On August 13, 2020 the undersigned submitted a letter brief to Judge

  Crowley briefing the issue.     The District argued that specifically, child study team

  members, school psychologists, speech pathologists, and administrators employed by

  public school districts routinely testify at plenary hearings and are regarded as experts in




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  their respective fields. As such, the District submitted that Ms. Minervini should be

  regarded as an expert with respect to special education and related services at East

  Brunswick Township High School and the programs the District has to offer.

          22.     At the final day of hearing on August 14, 2020, Judge Crowley ruled on

  the record that the testimony should be limited to reflect the issue of FAPE being

  provided at the time A.S. was in-district.

          23.     On December 3, 2020, the parties submitted their closing briefs and the

  ALJ closed the record.

          24.     The ALJ rendered her final Decision and Order on January 5, 2021,

  finding favorably for Parents, denying all relief to the District.

          25.     Specifically, the ALJ found (i.) the District did not provide A.S. with a

  FAPE in the LRE and granted Parents reimbursement for the unilateral placement and

  continued placement at The Lewis School and compensatory education in the amount of

  fifty hours.

          26.     This appeal followed.

                                  IV CAUSES OF ACTION

                                           Count 1- IDEA

                 THE ALJ COMMITTED SIGNIFICANT, CUMULATIVE
                  AND MATERIAL ERRORS OF FACT AND OF LAW-

          27.     Plaintiff repeats and realleges each and every allegation set forth in the

  preceding paragraphs of the complaint with the same force and effect as though each

  were fully set forth at length herein.




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         28.      The ALJ erroneously concluded that the District failed to provide

   FAPE to A.S.

                  a.    Hearing testimony and documentary evidence revealed that

                        Defendants obstructed the District’s attempt to procure for A.S. an

                        appropriate educational program and placement by continuously

                        rejecting the District’s implementation of various proposed

                        programs.

                  b.    N.J.A.C. 6A:14-2.3(c) strongly suggests that a parent may not

                        withhold consent for an evaluation or service, and later argue that

                        the District’s failure to administer that same evaluation or deliver

                        that same service constitutes a denial of FAPE. S.W. o/b/o W.W.

                        v. Florham Park Board of Education, OAL Docket No. EDS

                        10775-14 (September 29, 2015).

                  c.    Although A.S. was classified as Communication Impaired, the

                        January 11, 2016 IEP states that Defendant M.S. specifically

                        requested that the District not provide A.S. with speech/language

                        services.

                  d.    In the beginning of seventh grade, A.S. was placed in an in-class

                        resource section of social studies again as per parent request and

                        against the District’s recommendations. M.S. stated her feeling

                        that Alexa would benefit academically and socially from increased

                        exposure to her “typically developing peers” in the in-class setting.

                        As revealed through witness testimony and documented in A. S’s




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                       middle school IEP, in spite of extensive accommodations in the in-

                       class setting, A.S. struggled academically, and suffered with self-

                       esteem issues and a “marked increase in anxiety.”

                e.     Despite the concerning results of the Child Study Team

                       evaluations conducted of A.S. in Fall of 2018 (10th Grade), and the

                       CST’s unequivocal recommendation that A.S. needed a more

                       supportive program in the pull-out resource setting, Defendants

                       stressed the importance for A.S. to remain in the in-class resource

                       setting to increase exposure to “socially appropriate” peers and

                       denied the District’s proposed programming.

         29.    ALJ Crowley failed to apply the equitable considerations which

   warrant denying, or substantially decreasing, the tuition reimbursement ordered.

                a.     Parents’ actions demonstrated that they were never willing to

                       consider the District’s offer of FAPE.

                b.     N.J.A.C. 6A:14-2.19(c)1 and (2) provide:

                       (c) The Parents must provide notice to the district
                       board of education of their concerns and their intent
                       to enroll their child in a nonpublic school at public
                       expense. The cost of reimbursement described in
                       (b) above may be reduced or denied:

                               1. If at the most recent IEP meeting that the
                           parents attended prior to the removal of the
                           student from the public school, the parents did
                           not inform the IEP team that they were rejecting
                           the IEP proposed by the District;

                               2. At least 10 business days (including any
                           holidays that occur on a business day) prior to
                           the removal of the student from the public
                           school, the parents did not give written notice to



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                         the district board of education of their concerns
                         or intent to enroll their child in a nonpublic
                         school;

               N.J.A.C. 6A:14-2.19(c)1 and (2).

               c.     With respect to N.J.A.C. 6A:14-2.10(c)(1), Parents did not inform

                      the Child Study Team at the most recent IEP meeting prior to

                      removal—the December 6, 2018 meeting—that they were rejecting

                      the IEP proposed by the District for A.S.’s eleventh grade year.

               d.     Both the hearing testimony and the IEP itself reflect that both M.S.

                      and D.S. were in agreement with the proposed program- and

                      expressly consented to the December 6, 2018 IEP.

               e.     The hearing testimony and evidence reflect that it was not until

                      seven (7) months later, on July 15, 2019, D.S. and M.S. notified

                      the District in writing that they intended to place A.S. at the Lewis

                      School for the 2019-2020 school year.

               f.     ALJ Crowley failed to analyze N.J.A.C. 6A:14-2.19(c)(1) and (2)

                      in her Final Decision. Rather, she made a blanket finding that the

                      unilateral placement by the parents at the Lewis School was

                      reasonable because “the District was given proper notice of the

                      unilateral placement.”

               g.     Defendant M.S.’s own testimony revealed her biases against

                      special education students, which resulted in the breakdown in the

                      collaborative process to provide an appropriate program for A.S.




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                h.     ALJ Crowley specifically found that “the parents were resistant to

                       the recommended proposal for A.S., which included resource

                       classes, speech therapy, and counseling.”

                i.     The cost of tuition reimbursement for unilateral private school

                       placement may also be reduced or denied “[u]pon a judicial finding

                       of unreasonableness with respect to actions taken by the parents.”

                       N.J.A.C. 6A:14-2.10(c)(4).

                j.     ALJ    Crowley erroneously      applied a judicial finding     of

                       unreasonableness to the award of compensatory education, and did

                       not apply the analysis to tuition reimbursement pursuant to

                       N.J.A.C. 6A:14-2.10(c)(4).

         30.    In reviewing witness credibility, the ALJ not only gave very little

   weight to the testimony of highly qualified independent professionals called by the

   District, but the ALJ also completely overlooked much of the relevant testimony.

                a.     ALJ Crowley erred in giving insufficient weight to the testimony

                       of Jacqueline Emert and Conor Scott. In fact, ALJ Crowley did

                       not give any analysis as to why she found Mr. Scott and Ms. Emert

                       “not credible,” or how their testimony was “inconsistent with

                       documentary evidence.”

                b.     ALJ Crowley completely failed to consider the testimony of

                       Rosalia Minervini, Supervisor of Special Services in Secondary

                       Programs for Grades 6-12, when she discussed the credibility of

                       the witnesses and the weight she gave to their testimony.




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                 c.      The ALJ improperly failed to allow Ms. Jennifer Garcia, CCC-

                         SLP, the Board’s certified Speech and Language Pathologist, on

                         the Monday August 10, 2020 hearing date.

          WHEREFORE, Plaintiff, East Brunswick Township Board of Education hereby

   requests that this Honorable Court:

          A.     Assume jurisdiction of this matter and review and reverse Hon.

                 Sarah G. Crowley, ALJ’s Decision and Order dated January 5,

                 2021;

          B.     Reverse the Decision and Order by Hon. Sarah G. Crowley, ALJ

                 insofar as it found the District failed to provide FAPE to A.S.;

          C.     Reverse the Decision and Order by Hon. Sarah G. Crowley, ALJ

                 insofar as it found the placement of the Lewis School unilaterally

                 selected by Parents to be appropriate, thereby ordering the District

                 to reimburse Parents for tuition and fees related to the private

                 school placement, including transportation costs to and from the

                 private placement;

          D.     Grant other such relief as this Court deems just and proper.


                          DESIGNATION OF TRIAL COUNSEL

          Pursuant to R. 4:25-4, Jodi S. Howlett, Esq. is hereby designated as trial attorney.




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                       CERTIFICATION PURSUANT TO RULE 4:5-1

           I hereby certify that the matter in controversy is not the subject of any other action

   pending in any Court or of any pending arbitration proceeding, and that no other action

   nor arbitration proceeding is contemplated, and that I know of no other party who should

   be joined in this action.

                                          CLEARY GIACOBBE ALFIERI JACOBS, LLC
                                          Counsel for Plaintiff,

                                           s/ Jodi Howlett, Esq.
                                          ____________________________
                                          JODI S. HOWLETT, ESQ.
   DATED: April 5, 2021

                      CERTIFICATION PURSUANT TO RULE 1:38-7

           I certify that confidential personal identifiers will be redacted from all documents

   submitted in the future in accordance with R. 1 :38-7(a).

                                          CLEARY GIACOBBE ALFIERI JACOBS LLC
                                          Counsel for Plaintiff,

                                           s/ Jodi Howlett, Esq.
                                          ____________________________
                                          JODI S. HOWLETT, ESQ.
   DATED: April 5, 2021

                                       CERTIFICATION

           I hereby certify that the above pleading was filed with the U.S.D.C., District of

   New Jersey, and copies were sent to all counsel known of record on the below date.

                                          CLEARY GIACOBBE ALFIERI JACOBS, LLC
                                          Counsel for Plaintiff,

                                           s/ Jodi Howlett, Esq.
                                          ____________________________
                                          JODI S. HOWLETT, ESQ.
   DATED: April 5, 2021



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